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 8                                    UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. 1:02-cr-05050-AWI-1

12                       Plaintiff,                     UNOPPOSED REQUEST FOR
                                                        EXTENSION OF REPLY DEADLINE;
13          v.                                          ORDER

14   EDUARDO PANO CANO,
                                                        Judge: Honorable ANTHONY W. ISHII
15                       Defendant.

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17          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
18   hereby requests that the deadline to file a response to the government’s opposition (to defendant’s
19   pro se motion), be extended to April 17, 2015. Government counsel has graciously indicated she
20   has no objection.
21   Dated: April 2, 2015
22                                                        Respectfully submitted,
23                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
24

25                                                        /s/ David M. Porter
                                                          DAVID M. PORTER
26                                                        Assistant Federal Defender
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       Case 1:02-cr-05050-AWI Document 337 Filed 04/02/15 Page 2 of 2


 1                                               ORDER
 2                 Pursuant to the unopposed request, and good cause appearing therefor, it is hereby

 3   ordered that the response to the government’s opposition (to defendant’s pro se motion), be

 4   extended to April 17, 2015. Government counsel has graciously indicated she has no objection.

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 6   IT IS SO ORDERED.
 7
     Dated: April 2, 2015
 8                                              SENIOR DISTRICT JUDGE

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